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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                                 4:14CR3033
      vs.                                                        AMENDED
                                                                   ORDER
TALEB S. KHALAF,
                     Defendants.


      Defendant has retained new counsel.          Defendant has moved to continue the
pretrial motion deadline, (filing no. 30), because his newly retained counsel needs
additional time to review this case and confer with the defendant before deciding if
pretrial motions should be filed. The motion to continue is unopposed. Based on the
showing set forth in the motion, the court finds the motion should be granted.
Accordingly,


      IT IS ORDERED:

      1)       The motion of attorney Jessica Milburn to withdraw as counsel of record
               for Defendant Khalaf, (filing no. 31), is granted.

      2)       Defendant’s newly retained counsel, Timothy Sullivan, shall promptly
               notify the defendant of the entry of this order.

      3)       The clerk shall delete Jessica Milburn from any future ECF notifications
               herein.

      4)       Defendant’s motion to continue, (filing no. 30), is granted.

      5)       Pretrial motions and briefs shall be filed on or before September 11, 2015.

      6)       The jury trial of this case is set to commence before Richard G. Kopf,
               United States District Judge, in Courtroom 1, United States Courthouse,
               Lincoln, Nebraska, at 9:00 a.m. on October 5, 2015, or as soon thereafter as
               the case may be called, for a duration of four (4) trial days. Jury selection
               will be held at the commencement of trial.
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    7)    The ends of justice served by granting the motion to continue outweigh the
          interests of the public and the defendant in a speedy trial, and the additional
          time arising as a result of the granting of the motion, the time between
          today’s date and October 5, 2015, shall be deemed excludable time in any
          computation of time under the requirements of the Speedy Trial Act,
          because despite counsel’s due diligence, additional time is needed to
          adequately prepare this case for trial and failing to grant additional time
          might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


    July 31, 2015.
                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge




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